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                        EXHIBIT G
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         5:38 PM                          ECFPage
                                       Summary No.| Michigan
                                                     77-8, Campaign
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     The Office of

     Secretary of State Jocelyn Benson
     SOS / Elections




                 Michigan Committee Statement
                         Summary Page

        ⧈ Committee Name: MALLORY MCMORROW FOR MICHIGAN
        ⧈ Statement Type: POST-PRIMARY CS
        ⧈ Statement Year: 2022




                                                         Back to statement details


                                                                                       This            Cumulative
                                                                                     Period                  This
                                                                                                         Election
                                                                                                            Cycle

             RECEIPTS

             3. Contributions

             a. Itemized Contributions                      (3a.)                 $13,442.99

             b. Unitemized                                  (3b.)                     $0.00

             c. Subtotal of Contributions                   (3c.)                 $13,442.99   (18.)   $662,358.26

             4. Other Receipts                              (4.)                      $0.00    (19.)       $330.95

             5. Total Contributions and
                                                            (5.)                  $13,442.99   (19.)   $662,689.21
             Other Receipts


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                                                                                       This            Cumulative
                                                                                     Period                  This
                                                                                                         Election
                                                                                                            Cycle



             IN-KIND CONTRIBUTIONS
             AND EXPENDITURES

             6. In-Kind Contributions                       (6.)                      $0.00    (21.)       $910.15

             7. In-Kind Expenditures                        (7.)                      $0.00    (22.)         $0.00



             EXPENDITURES

             8. Expenditures

             a. Itemized                                    (8a.)                 $58,260.39

             b. Itemized GOTV                               (8b.)                     $0.00

             c. Unitemized                                  (8c.)                     $0.00

             9. Total Expenditures                          (9.)                  $58,260.39   (23.)   $394,805.64



             INCIDENTAL EXPENSE
             DISBURSEMENTS

             10. Disbursements

             a. Itemized                                    (10a.)                    $0.00

             b. Unitemized                                  (10b.)                    $0.00

             11. Total Incidental
             Expenditure                                    (11.)                     $0.00    (24.)       $225.00
             Disbursements



             DEBTS AND OBLIGATIONS

             12. Debts and Obligations

             a. Owed by the Committee                       (12a.)                    $0.00

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      Case
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                                                                                       This    Cumulative
                                                                                     Period          This
                                                                                                 Election
                                                                                                    Cycle

             b. Owed to the Committee                       (12b.)                    $0.00



             BALANCE STATEMENT

             13. Ending Balance of last
                                                            (13.)            $356,186.63
             report filed

             14. Amount received during
                                                            (14.)                 $13,442.99
             reporting period

             15. Subtotal                                   (15.)            $369,629.62

             16. Amount Expended
                                                            (16.)                 $58,260.39
             during reporting period

             17. ENDING BALANCE                             (17.)            $311,369.23




                                                     Michigan Home Michigan SOS

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